 Case 18-14600-MBK              Doc 7 Filed 03/11/18 Entered 03/12/18 01:42:25                       Desc Imaged
                                     Certificate of Notice Page 1 of 3
Form oscmsdoc − oscmissdocv27

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 18−14600−MBK
                                         Chapter: 11
                                         Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Princeton Alternative Funding LLC
   100 Canal Pointe Blvd
   Ste 208
   Princeton, NJ 08540−7063
Social Security No.:

Employer's Tax I.D. No.:
  35−2613349

                           ORDER TO SHOW CAUSE WHY CASE SHOULD NOT BE
                             DISMISSED FOR FAILURE TO FILE DOCUMENTS

              The Court having noted that the debtor filed a petition on March 9, 2018, and did not file the following
documents:

         Summary of Assets and Liabilities for Non−Individuals, Declaration Under Penalty of Perjury for Non
Individual Debtors, Statement of Financial Affairs For Non−Individuals, Atty Disclosure Statement, 20 Largest
Unsecured Creditors, List of Equity Security Holders, List of All Creditors, Statement of Corporate Ownership,
Schedules A/B,D,E/F,G,H,.

             The court having noted that the debtor's case was converted to chapter 13 on , and that the Court's local
form, Chapter 13 Plan and Motions has not been filed,
     It is hereby
    ORDERED that the above document(s) must be received by the Clerk on or before 3/23/18 or the case will be
dismissed.
     If you object to dismissal you may file an Application to Extend Time to File Missing Documents or a written
request for a hearing with the Clerk of the Bankruptcy Court at the address above. The Application or request must
be received by the Clerk no later than 3/23/18.

     If an Application to Extend Time to File Missing Documents is filed, the Court will either grant or deny your
request and enter an order.

    If you file a written request for a hearing, you or your attorney must appear at a hearing to be held before the
Honorable Michael B. Kaplan on
Date: April 11, 2018
Time: 10:00 am
Location: Courtroom 8
Address: Clarkson S. Fisher Courthouse
           402 East State Street
           Trenton, NJ 08608−1507
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                            Certificate of Notice Page 2 of 3
IMPORTANT: THE MOST RECENT VERSION OF EACH DOCUMENT MUST BE FILED.




Dated: March 9, 2018
JAN: wdr

                                   Michael B. Kaplan
                                   United States Bankruptcy Judge
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                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 18-14600-MBK
Princeton Alternative Funding LLC                                                                          Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-3                  User: admin                        Page 1 of 1                          Date Rcvd: Mar 09, 2018
                                      Form ID: oscmsdoc                  Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 11, 2018.
db              Princeton Alternative Funding LLC,   100 Canal Pointe Blvd,   Ste 208,
                 Princeton, NJ 08540-7063

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Mar 10 2018 00:04:21     United States Trustee,
                 Office of the United States Trustee,   1085 Raymond Blvd.,   One Newark Center,   Suite 2100,
                 Newark, NJ 07102-5235
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 11, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 9, 2018 at the address(es) listed below:
              Derek J. Baker   on behalf of Interested Party    MicroBilt Corporation dbaker@reedsmith.com
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
              Valerie A. Hamilton   on behalf of Debtor    Princeton Alternative Funding LLC
               vhamilton@sillscummis.com, g8360@notify.cincompass.com
                                                                                             TOTAL: 3
